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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

IN RE:                                                     §
                                                           §     CHAPTER 11
                                                           §
REMARKABLE HEALTHCARE OF                                   §     CASE NO. 24-40605
CARROLLTON LP, ET AL., 1                                   §
                                                           §     (Joint Administration Requested)
                                                           §
                           DEBTORS.                        §

    NOTICE OF CONSENT AND AGREEMENT TO EXTEND OBJECTION DEADLINE

        PLEASE TAKE NOTICE that Remarkable Healthcare of Carrollton, LP and its affiliated

debtors and debtors-in-possession, (together, the “Debtors”) and the United States of America (the

“United States”), on behalf of the Department of Health and Human Services (“HHS”), acting

through its designated component, the Centers for Medicare & Medicaid Services (“CMS”),

hereby agree to a one (1) week extension for Debtors to object to the United States’ Motion for

Relief from the Automatic Stay to Set Off Mutual Debts (the “US Motion”) [Dckt. No. 163]. The

communications between the parties agreeing to the one-week extension is attached hereto as

Exhibit A.

        PLEASE TAKE NOTICE that upon the parties’ mutual consent and agreement, the new

deadline for Debtors to file their objection to the US Motion is hereby extended to July 15, 2024.




1
 The Debtors have requested the joint administration of the following chapter 11 cases (followed by the last four
digits of each Debtor’s federal tax identification number): Remarkable Healthcare of Carrollton, LP (5960),
Remarkable Healthcare of Dallas, LP (3418), Remarkable Healthcare of Fort Worth (1692), Remarkable Healthcare of
Seguin, LP (4566), and Remarkable Healthcare, LLC (5142).

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Dated: July 5, 2024                           GUTNICKI LLP
        Dallas, Texas
                                              /s/ Liz Boydston
                                              Liz Boydston (SBN 24053684)
                                              Alexandria Rahn (SBN 24110246)
                                              10440 N. Central Expy., Suite 800
                                              Dallas, Texas 75231
                                              Telephone: (469) 935-6699
                                              Facsimile: (469) 895-4413
                                              lboydston@gutnicki.com
                                              arahn@gutnicki.com

                                              -and-

                                              Max Schlan (admitted Pro Hac Vice)
                                              45 Rockefeller Plaza
                                              Suite 2000
                                              New York, New York 10111
                                              Telephone: (646) 825-2330
                                              Facsimile: (646) 825-2330
                                              mschlan@gutnicki.com

                                              Counsel for the Debtors and Debtors in
                                              Possession




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                                  Exhibit A




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From:                                                                                                     Liz Boydston
Sent:                                                                                                     Friday, July 5, 2024 11:59 AM
To:                                                                                                       Tharpe, Whitney (USATXE)
Cc:                                                                                                       Max Schlan; Alexandria Rahn; Ren-Ann Wang
Subject:                                                                                                  Re: Request for extension of objection to Dkt. 163 Motion for Relief from Stay


Thank you.
Liz Boydston (she/her)
Partner
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    the l nk po nts to the co ect file and locat on




p (469) 895-4413
c (214) 403-7901
lboydston@gutnicki.com www.gutnicki.com



                                On Jul 5, 2024, at 10:39 AM, Tharpe, Whitney (USATXE) <Whitney.Tharpe@usdoj.gov> wrote:


                                Hi Liz,

                                No objection to an extension.

                                Thanks,
                                Whitney


                                Whitney Tharpe
                                Assistant United States Attorney
                                United States Attorney’s Office
                                Eastern District of Texas, Civil Division
                                Office: 903-510-9357
                                E-Mail: Whitney.Tharpe@usdoj.gov




                                From: Tharpe, Whitney (USATXE)
                                Sent: Thursday, July 4, 2024 11:19 AM
                                To: Liz Boydston <lboydston@gutnicki.com>
                                Cc: Max Schlan <mschlan@gutnicki.com>; Alexandria Rahn <arahn@gutnicki.com>; Ren-Ann Wang
                                <rwang@gutnicki.com>
                                Subject: RE: Request for extension of objection to Dkt. 163 Motion for Relief from Stay

                                Hi Liz,

                                I’m working today because I have a deposition at 7:30 tomorrow A.M. – I passed this along to HHS/OGC
                                and will let you know as soon as I hear.

                                Thanks,
                                                                                                                                    1
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Whitney

From: Liz Boydston <lboydston@gutnicki.com>
Sent: Wednesday, July 3, 2024 2:57 PM
To: Tharpe, Whitney (USATXE) <WTharpe@usa.doj.gov>
Cc: Max Schlan <mschlan@gutnicki.com>; Alexandria Rahn <arahn@gutnicki.com>; Ren-Ann Wang
<rwang@gutnicki.com>
Subject: [EXTERNAL] Request for extension of objection to Dkt. 163 Motion for Relief from Stay

Hi Whitney, can I please get a 1 week extension on Dkt. 163 the Motion for Relief you filed? I’ve
been crushed and we’ve had so many days in Judge Rhoades’s court, and I’m in depos on Friday
and Monday. Can I file a Notice of Consent and Agreement to Extend Objection Deadline to July
15th?

Thanks for your consideration, and hope you have a great 4th.

Liz Boydston (she/her)
Partner

<image001.png>

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